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EXHIBIT A-3
Redacted Time Records of Nealon & Associates, PC
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Nealon & Associates, P.C.
119 North Henry Street
Old Town

Alexandria, VA 22314

Invoice submitted to:

Affinity Financial Corp./Waterfield Financial Services, inc.
620 Newport Center Drive, Sutie 1100

Newport Beach, CA 92660

July 29, 2011

Professional Services

11/18/2010 - RBN_ Talk to cl re new matter

11/19/2010 - RBN_ Talk to cl re new matter

11/29/2010 - UP Meeting w RBN and Jil, rev final proposed edition of arbitration
award petition, notes for review, status to RBN

11/30/2010 - UP Reviewed petition and award, incorporated references to local law
and formatted petition in conformity with local rules, confirmed
protocoi for the special proceeding with the clerk of court, prepared
originals, copies, check, and electronic document disc for filing,
circulated to counsel by email, ordered courier through SB.

- RBN Document review.

12/1/2010 - UP Final review of petition and package, final edits and adjustments,
recirculated with confirmation of courier dispatch to counsel.

12/2/2010 - UP Talk to processing clerk, prepared disclosure and order for judge's
attention and notice in lieu of summons for expedited service to
counsel, comm w P. Demuro re corporate affiliations, met w RBN,
prepared originals and copies for filing, trav to court, submitted for
filing w processing clerk, confirmed 12/1 filestamp, RTO, dispo
letter to counsel/cls and RBN

Hrs/Rate Amount
0.50 150.00
$300.00/hr
0.50 150.00
$300.00/hr
0.50 100.00
$200.00/hr
1.00 200.00
$200.00/hr
1.33 399.00
$300.00/hr
0.50 100.00
$200.00/hr
3.00 600.00
$200.00/hr
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Affinity Financial Corp./Waterfield Financial Services, Inc.

12/6/2010 -

12/23/2010 -

12/27/2010 -

12/28/2010

1

1/4/2011 -

1/6/2011 -

1/7/2011 -

1/8/2011 -

1/10/2011 -

1/14/2011 -

1/17/2011 -

2/16/2011 -

2/17/2011 -

2/18/2011 -

UP

UP

UP

UP

UP

UP

UP

UP

UP

UP

SBA

SBA

Email confirmation of filings

Review served copy of response to petition and motion to vacate
arbitration award, scanned and circulated to cls and JI/RBN,
confirmed time to respond, met w JII, email comm w counsel, tt V.
Thompson re request for extension and f/u w email confirmation,
draft motion, memorandum and order for extension and circulated,
tt cls re stategy for drafting response

Review status of request for consent, email comm w ci re
preliminary analysis of DC federal case law and confirmed
respective drafting assignments, confirmed unopposed motion and
updated/recirculated drafts, filed unopposed motion, memorandum
and order for extension, confirmed w cls

Review granting of minute order extending time, email w cls
Research D.C. district and federal cases re arbitration award

issues presented by motion to vacate

Email drafting statuses w counsel

Draft analyses of local law for opposition to motion to vacate
Finalize contributed passages to opposition, sent to counsel w
email memo

Review comments and drafts fr counsel, incorporated all into final
edition of opposition, circulated for approvals, attached exhibits by

counsel, finalized w proposed order and filed electronically

Email w OC re extension request, copy to counsel, rev motion filed
Email comm w counsel re oral argument strategy

Review docket, email memo to cl w request to confirm pro hac vice
intentions, forwarded information to SA for motion preparation

Draft and email motions for pro hac vice to Renee Ross.

Read email from Renee Ross; respond to email from Renee Ross.

Page 2
Hrs/Rate Amount
0.25 50.00
$200.00/hr
2.00 400.00
$200.00/hr
7.00 200.00
$200.00/hr
0.25 50.00
$200.00/hr
2.00 400.00
$200.00/hr
0.25 50.00
$200.00/hr
2.00 400.00
$200.00/hr
2.00 400.00
$200.00/hr
3.00 600.00
$200.00/hr
0.38 76.00
$200.00/hr
0.25 50.00
$200.00/hr
0.50 100.00
$200.00/hr
0.67 67.00
$100.00/hr
0.08 8.00

$100.00/hr
Affinity Financial Corp. /Waterfield Financial Services, Inc.

3/1/2011 -

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SBA Email communication with Renee Ross.

6/17/2011 - UP Email w counsel re status of deliberations and ruling

6/21/2011 - UP Review email fr counsel

For professional services rendered

Additional Charges :

11/30/2010 - TK AFC WFS Filing fee (24556)

12/13/2010 - TK Mileage Travel - Filing

11/30/2010
12/13/2010
12/31/2010
1/7/2011
1/31/2011
2/28/2011
3/31/2011
4/4/2011
4/22/2011
5/5/2011
6/30/2011

Total costs

For professional services rendered

Invoice No. 16781
Invoice No. 16760
invoice No. 16913
Payment - thank you. Check No. 200190
invoice No. 17049
invoice No. 17168
Invoice No. 17293
Payment - thank you. Check No. 200195
Payment - thank you. Check No. 200196
Payment - thank you. Check No. 200199
Invoice No. 17618

Total payments and adjustments

16781
16760
16913

17049

17168
17293

17618

Page 3
Hrs/Rate Amount
0.08 8.00
$100.00/hr
0.25 50.00
$200.00/hr
0.25 50.00
$200.00/hr
22.54 $4,658.00
Qty/Price
4 350.00
350.00
40 16.80
0.42
$366.80
22.54 $5,024.80
$399.00
$1,716.80
$650.00
($2,115.80)
$1,976.00
$175.00
$8.00
($2,626.00)
($175.00)
($8.00)
$100.00
$100.00
